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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO


 Criminal Action No. 17-cr-00008-WJM

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 1. GUY JEAN-PIERRE,

        Defendant


______________________________________________________________________________
    GOVERNMENT’S RESPONSE TO DEFENDANT’S OBJECTIONS TO THE PSR
 _____________________________________________________________________________

        The United States of America, by and through its counsel, Jeremy Sibert,

hereby respectfully submits this response in reply to the defendant Jean-Pierre’s

objections to the PSR.

        1. The Government’s loss calculation is based on the gain that resulted from the security

fraud conspiracy since loss cannot be reasonably determined due to the number of FusionPharm

investors from March 25, 2011 through May 15, 2014, the dates within the Conspiracy Count.

Specific Offense Characteristic 2B1.1(b)(1), applies in this case because there was a loss resulting

from the offense conduct. However, that loss reasonably cannot be determined, so the gain that

resulted from the offense conduct should instead be used as an alternative measure of loss for the

purpose of determining this offense characteristic. See U.S.S.G. Section 2B1.1, comment. (n.3(B)).

The gain that resulted from the offense conduct corresponds to the total in proceeds realized from

the sale of FUSIONPHARM common stock and debt securities convertible into common stock

through Microcap Management, LLC; Bayside Realty Holdings; and Meadpoint Venture Partners,

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LLC, which is approximately $12,254,173, greater than $9,500,000 but not more than $25,000,000,

which would increase the offense score 20 levels, pursuant to U.S.S.G. Section 2B1.1(b)(1)(K).

       The defense objects to the increase of 20 levels, pursuant to § 2B1.1(b)(1)(K) because

defendant Jean-Pierre claims that he was excluded from the conspiracy in 2013. As a result of

being excluded in 2013, Jean-Pierre argues that the approximately $10 million of the

$12,254,173.00 proceeds were not funds obtained in the scope of any agreement between himself

and defendants Sears and Dittman, and that the $10 million was not reasonably foreseeable in

connection with criminal activity. Defendant Jean-Pierre offers no case law or evidence from the

trial to support this objection. The government disagrees with defendant Jean-Pierre’s objections.

       The jury convicted defendant Jean-Pierre of Count One, Conspiracy to Commit Security

Fraud. The Tenth Circuit states that courts after a trial will not weigh conflicting evidence or

second-guess the fact-finding decisions of the jury. United States v. Summers, 414 F.3d 1287, 1293

(10th Cir.2005). There being no evidence that defendant Jean-Pierre withdrew from the

conspiracy, in which the jury found he was a participant in finding him guilty on count one created

a presumption that his participation continued and was sufficient to permit a finding of his guilt on

the additional counts. United States v. Flaharty, 295 F.3d 182, 201 (2d Cir. 2002). Defendant

Jean-Pierre’s membership in a conspiracy is presumed to continue until he withdraws from the

conspiracy by affirmative action. Withdrawal must be shown by evidence that the defendant acted

to defeat or disavow the purposes of the conspiracy. If the defendant produces such evidence, the

issue of withdrawal goes to the jury, and the government must then prove beyond a reasonable

doubt that the defendant did not withdraw from the conspiracy. United States v. Urbanik, 801 F.2d

692, 697 (4th Cir.1986) and United States v. West, 877 F.2d 281, 289 (4th Cir. 1989). There was

no evidence presented by defendant Jean-Pierre attempting to withdraw from the conspiracy since

the issue of withdrawal never went to the jury in this case.

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       “During the existence of a conspiracy, each member of the conspiracy is legally responsible

for the crimes of fellow conspirators.” United States v. Russell, 963 F.2d 1320, 1322 (10th

Cir.1992) (citing Pinkerton v. United States, 328 U.S. 640, 646–47 (1946)). “In order to withdraw

from a conspiracy an individual must take affirmative action, either by reporting to the authorities

or by communicating his intentions to the coconspirators.” United States v. Powell, 982 F.2d 1422,

1435 (10th Cir.1992). “Mere cessation of one's participation in a conspiracy is insufficient to

demonstrate withdrawal.” United States v. Hughes, 191 F.3d 1317, 1321 (10th Cir.1999). The

Tenth Circuit continues to emphasize that a conspirator must do more than simply cease

participation in the conspiracy to meet the legal standard for withdrawal See United States v.

Randall, 661 F.3d 1291, 1294 (10th Cir. 2011).

       “In order to withdraw from a conspiracy, a conspirator must attempt to undo the wrong that

has been done in one of two ways. First, a coconspirator can give authorities information with

sufficient particularity to enable the authorities to take some action to end the conspiracy.

“Authorities” does not mean just any government official or entity, but rather an official who has

some ability to act on the information given in an attempt to end the conspiracy.” United States v.

Randall, 661 F.3d 1291, 1294–95 (10th Cir. 2011)

       “A second way that a conspirator can withdraw from a conspiracy is to communicate his

withdrawal directly to his coconspirators in a manner that reasonably and effectively notifies the

conspirators that he will no longer be included in the conspiracy[.] Communicating such an intent

to coconspirators, however, requires more than implied dissociation. It must be sufficiently clear

and delivered to those with authority in the conspiracy such that a jury could conclude that it was

reasonably calculated to make the dissociation known to the organization. Simply not spending

time with coconspirators is not enough to satisfy this standard.” United States v. Randall, 661 F.3d

1291, 1295 (10th Cir. 2011)

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       The burden of establishing the abandonment or withdrawal from the conspiracy is firmly on

the defendant, Jean-Pierre. See United States v. Fox, 902 F.2d 1508, 1516 (10th Cir.1990); United

States v. Parnell, 581 F.2d 1374, 1384 (10th Cir.1978); and United States v. Fishman, 645 F.3d

1175, 1196-97 (10th Cir. 2011). Defendant Jean-Pierre’s membership in the criminal conspiracy

was ongoing because he never withdrew. See Smith v. United States, 568 U.S. 106, 107 (2013).

“[A] defendant's membership in the conspiracy, and his responsibility for its acts, endures even if

he is entirely inactive after joining it.” Id. at 114. (Emphasis Added) Even if defendant Jean-Pierre

had withdrawn, his withdrawal does not exonerate him for his past conduct; it can exonerate him

only as to future conduct by his coconspirators. United States v. Hughes, 191 F.3d 1317, 1323

(10th Cir. 1999) (citation omitted)

       The evidence established at trial proved that defendant Jean-Pierre was a member of the

criminal conspiracy throughout the timeframe as indicated in the second superseding indictment

and made no efforts to withdraw from that conspiracy. In addition, the defendant fails to meet his

burden of establishing withdrawal or abandonment from the conspiracy. More importantly, even if

the defense had shown a withdrawal in 2013, Jean-Pierre’s conduct in this case, to include drafting,

review and submission of documents, demonstrate his ability to foresee that the documents would

allow for future actions to further the conspiracy, most notably future stock sales by William Sears.

Defendant Jean-Pierre’s work for FUSIONPHARM was shown to have started in early 2011.

Defendant Jean-Pierre represented FUSIONPHARM with its name change, handled

FUSIONPHARM’s reverse stock split, assisted in setting up the meeting between Scott Dittman

and the lawyer Tod DiTommaso, visited FUSIONPHARM in Denver, CO where meetings were

held between himself, William Sears, and Scott Dittman, responded to Finra’s investigation on

behalf of FUSIONPHARM, drafted two disclosure statements and current information letters for

OTC Markets on behalf of the company, and was listed as the Corporate Secretary and Legal

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Counsel in the 2011 annual report. In addition, Jean-Pierre drafted the fraudulent and backdated

agreement to transfer ownership of Microcap Management from William Sears to Richard Scholz.

The agreement was drafted by Jean-Pierre in October 2011 and backdated it to May of 2011.

       More importantly, in 2011 when FUSIONPHARM did not have funds and was trying to

raise capital, William Sears used a Rule 144 opinion letter drafted by Jean-Pierre forging his nieces

name and legal license. The opinion letters allowed William Sears to receive unrestricted

FUSIONPHARM shares via his company Microcap, which allowed Sears to trade the shares on

OTC markets without the public knowing he was affiliated with FUSIONPHARM. Further, Sears,

Dittman, Jean-Pierre, and other co-conspirators fraudulently documented the proceeds from the sale

of these shares as revenue or/and loans on the disclosures FUSIONPHARM had to make with OTC

Pinksheets.

Defendant Jean Pierre’s work for FUSIONPHARM continued in 2012. Jean-Pierre assisted in

drafting the documents where FUSIONPHARM entered into a $750,000 licensing agreement with

Vertifresh. As part of that agreement, Jean-Pierre sent an email to William Sears with a stock

purchase agreement to transfer Robert Dittman, Scott Dittman’s brother, 175,480 preferred shares

of FUSIONPHARM for 50% ownership of Vertifiresh. In addition, Jean-Pierre conducted a legal

review of the Vertifresh licensing agreement sent to him by William Sears and prepared a

fraudulent share purchase agreement where Robert Dittman transferred 85,365 preferred shares to

Vertifresh. In addition, Jean-Pierre helped prepare and review FUSIONPHARM’s quarterly and

annual reports, and wrote the corresponding three current information letters, that were posted and

relied upon by OTC Markets and investors. These reports made fraudulent representations about

FUSIONPHARM to include William Sears’ role, related party transactions, revenue and stock

control.



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        Defendant Jean-Pierre met with Cliffe Bodden and William Sears in Florida in May 2012

and January 2013 to discuss the need for additional funds and the sale of FUSIONPHARM stock.

During the first meeting, they discussed drafting non-convertible note agreements between

FUSIONPHARM and lenders, Bayside and Meadpoint (shell companies both controlled by

William Sears). These note agreements were documented and backdated to May, 2011 and

December, 2011, and signed shortly after the May, 2012 meeting. These loan agreements were

sent via email, with Jean-Pierre copied, to an interested investor. In November, 2012, they

discussed changing the non-convertible promissory note agreements into convertible promissory

note agreements. The parties agreed that the notes would include the conversion rate of $0.01 per

share. 1 After having discussed and reviewed the notes, Jean-Pierre drafted 14 attorney opinion

letters that allowed unrestricted shares of FUSIONPHARM stock to be fraudulently sold by entities

controlled by Sears. The Meadpoint and Bayside convertible promissory notes allowed Sears the

option to convert his loans into over 26 million shares of FUSIONPHARM common stock. 2

        In November 2012, Jean-Pierre reviewed the Bayside convertible promissory note, knowing

the William Sears controlled the shell company. Jean-Pierre also knew from the note that

Bayside/William Sears was receiving a conversion rate of one cent per share of FUSIONPHARM

stock. The shares of FUSIONPHARM stock were trading for approximately $1.40 on November,

21, 2012. Thus, making the one cent per share of FUSIONPHARM stock a massive discount that

would raise suspicion for any reasonable person, especially a securities lawyer.

        In December 2012, William Sears through Bayside converted $1,400 of the Bayside

convertible promissory note into 140,000 unrestricted FUSIONPHARM shares, which are



1
 During the 2016 FBI undercover operation, Jean-Pierre stated that a convertible feature in a note agreement needed
to be part of the original agreement and could not just be added later on in order to obtain stock.
2
  In November, 2012, FUSIONPHARM’s stock was trading at approximately $1.50 making the convertible notes worth
about $39,000,000.
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deposited into Bayside’s Scottsdale account. In order to make this conversion, Jean-Pierre wrote

the Rule 144 opinion letter stating that Bayside/William Sears was not an affiliate of

FUSIONPHARM and that the holding period of 12 months was met, both of which Jean-Pierre

knew were false. In emails from Jean-Pierre to Tod Ditommaso, Jean-Pierre attached the Bayside

convertible note that indicated the potential value to Bayside/Sears if all the FUSIONPHARM

stock was converted. As a result of this conversion and the Rule 144 letter, Bayside/William Sears

sold the 140,000 shares of FUSIONPHARM stock for approximately $75,000.00 in proceeds.

Defendant received checks from Bayside signed by Sears as payment for his work.

       In March 2013, Jean-Pierre drafted the five opinion letters and five revisions of these letters

for the sale of the Bayside note where Bayside/William Sears made $250,000.00 and the five

parties (SGI/Starcity/Vera/Mauriello/Black Arch) received unrestricted shares of FUSIONPHARM

stock. Notably, these investors paid .40 cents a share, forty times what Sears paid. The opinion

letters stated that the holding period of 12 months was met, which Jean-Pierre knew was false since

the note was created in November of 2012. The FUSIONPHARM stock should have been

restricted requiring the purchasers of the note to hold the stock until the 12 month holding period

was met. Jean-Pierre’s false opinion letters allowed Bayside/William Sears to sell the note at a

premium price to investors since the shares were not restricted. Bayside/William Sears funneled

the majority of the $250,000 back into FUSIONPHARM.

       In early 2013, Jean-Pierre reviewed the Meadpoint convertible promissory note, knowing

the William Sears controlled the shell company. As with the Bayside note, Jean-Pierre knew that

William Sears was receiving a very favorable conversion rate of one cent per share of

FUSIONPHARM stock. The Meadpoint note gave Sears the ability to convert the note into 8.8

million shares, the equivalent of approximately 8.6 million dollars based on the stock price of

FUSIONPHARM on March 1, 2013.

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       As with the Bayside note, Jean-Pierre wrote the Rule 144 opinion letters when

Sears/Dittman needed additional funds and had to convert the false debt into stock regarding the

Meadpoint note. On April 12, 2013, Meapoint/Sears converted $4,750 of the note into 475,000

unrestricted shares of FUSIONPHARM stock that was transferred into Sears’ Scottsdale account.

Jean-Pierre coordinated with Ditommaso, emailed Ditommaso the Rule 144 opinion letter and copy

of the Meadpoint note knowing that Sears was an affiliate of FUSIONPHARM and Sears was

controlling Meadpoint. The opinion letter falsely stated that Meadpoint was not affiliate now or in

the last 90 days an affiliate of company. Further, it falsely stated that the one-year holding period

was met.

       As a result of the fraud, Sears was able to sell the FUSIONPHARM stock for $117,000.00.

In August 15, 2013, Meadpoint/Sears converted $5,000 into 500,000 unrestricted shares of

FUSIONPHARM stock, which he sold for $156,000. The majority of these funds were used to pay

FUSIONPHARM expenses or were funneled back into FUSIONPHARM. Again, Jean-Pierre

falsely hid Sears’ affiliation status and lied about the one year holding period in his opinion letter.

       In September 2013, Meadpoint enters into a share purchase agreement with Richard Scholz

and Myron and Sharryn Thaden to sell each individual 500,000 unrestricted shares of

FUSIONPHARM stock for $50,000.00 each. Notably, evidence collected in this case indicates that

the portion of the Meadpoint note sold to the Thadens was mainly negotiated by Scott Dittman,

rather than William Sears. Based on the documentation provided to the Transfer Agent, the

Thadens and Scholz were paying approximately $0.10 per share, much more than what Sears and

Dittman arranged for themselves through the notes with the assistance of Jean-Pierre and other co-

defendants. However, as the evidence showed at trial, Scholz never paid anything to Sears

regarding these shares and instead provided the proceeds from selling the shares back to Sears after

taking a percentage for himself. Again, Jean-Pierre falsely states in the opinion letter that there is

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Meadpoint is not now (or anytime during the last 90 days) an affiliate of FUSIONPHARM and that

the one-year holding period was met regarding the note in order to make the shares unrestricted. In

return, Sears collected proceeds from the sale of the shares. The Thadens made 3 million dollars on

this fraudulent transaction when they sold their shares after marijuana became legal in CO. 3

Furthermore, Jean-Pierre never disclosed or prevented this transaction even though the Thaden’s

combined one million shares of FUSIONPHARM that they received from the sale would have

exceeded 10% of FUSIONPHARM’s currently issued and outstanding shares, thus likely making

the Thaden’s subject to the affiliate rules.

         In addition to the above transactions, Jean-Pierre drafted two current information letters for

OTC markets on behalf of FUSIONPHARM in 2013.

         Under the Supreme Court's decision in Pinkerton v. United States, 328 U.S. 640, 646–48

(1946), “a defendant [may be held] responsible for the crimes of his co-conspirators, if those crimes

are committed to help advance the conspiracy and are within the reasonably foreseeable scope of

the conspiracy.” United States v. Irvin, 682 F.3d 1254, 1274 (10th Cir. 2012); see also United States

v. Rosalez, 711 F.3d 1194, 1206 (10th Cir.2013) (discussing Pinkerton and noting that the Court

“explained the basic notion behind coconspirator liability” in that case). Section 1B1.3(a)(1)(B) of

the Guidelines makes clear that a participant in a fraudulent scheme “undertaken by the defendant

in concert with others” must be held responsible for “all reasonably foreseeable acts and omissions

in furtherance of the jointly undertaken criminal activity.” This is true regardless of a defendant's

direct participation in a specific transaction. United States v. Sells, 541 F.3d 1227, 1234 (10th Cir.

2008).




3
 The PSR did not address the profit that the Thadens made due to the purchase of FUSIONPHARM shares, which
should be included in the “loss” calculations.
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       As noted, the evidence supports the reasonable inference that defendant Jean-Pierre was an

active member of the fraudulent pump-and-dump security conspiracy. His knowledge of the

convertible promissory notes, how Sears and Dittman were using the notes to sell shares of

FUSIONPHARM stock in order to put the proceeds of the sale of the shares back into

FUSIONPHARM, his drafting of the opinion letters required to remove the restrictions, and

knowing the amount of shares that were controlled by Sears through his shell entities, it was

reasonably foreseeable that Sears and Dittman would continue to sell FUSIONPHARM shares

acquired through the convertible promissory notes that Jean-Pierre help create, reviewed, and acted

on. Scott Dittman testified that Jean-Pierre knew that the money from the sale of FUSIONPHARM

shares associated with the notes was coming back to FUSIONPHARM.

       At the end of the conspiracy, 4,065,314 million shares of FUSIONPHARM were sold,

netting an $12,254,173 million in proceeds. Meadpoint netted $10,338,925 in net proceeds, plus

the 3 million that the Thadens made selling the FUSIONPHARM stock they received in a

fraudulent sale. Microcap netted $1,590,118, Bayside netted $325,128.73, and William Sears

netted $7,869 as a result of fraudulent sales of FUSIONPHARM stock. During the conspiracy,

Jean-Pierre knew that William Sears was an undisclosed affiliate of FUSIONPHARM. He met

with co-conspirators to discuss the creation of documents/notes that would allow FUSIONPHARM

to collect proceeds through fraudulently selling shares of FUSIONPHARM stock. Jean-Pierre

reviewed the notes that provided William Sears very favorable conditions in order to convert “debt”

into “stock” so that Sears could sell FUSIONPHARM stock without the public’s knowledge that he

was associated to FUSIONPHARM. Transfer agents and brokers required opinion letters signed by

a licensed attorney in order to remove restrictive legends or issue stock as free trading stock in the

transactions discussed above. Jean Pierre used his expertise and experience in securities law to



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assist William Sears in concealing his true role with FUSIONPHARM in order to allow Sears

access to a massive amount of unrestricted FUSIONPHARM stock.

       At no time in this conspiracy, did Jean-Pierre report any of this fraudulent conduct to the

appropriate authorities. In fact, one could argue that Jean Pierre did the opposite by avoiding

service regarding the SEC and the Florida State Bar. Furthermore, Jean-Pierre never notified his

co-conspirators that he was withdrawing from the conspiracy. Dittman testified that Jean-Pierre

was still with FUSIONPHARM in 2013. More so, Jean-Pierre is responsible for his acts and any

withdrawal does not exonerate him from his work that he did on behalf of FUSIONPHARM, which

in this case included the Meadpoint and Bayside notes that resulted in millions of net proceeds.

“[T]he Government contends that any question of whether Mr. Jean-Pierre withdrew from the

conspiracy early enough to avoid liability is a factual matter for resolution by the jury.” United

States v. Simms, 15-CR-00080-MSK-GPG, 2015 WL 5210659, at *2 (D. Colo. Sept. 8, 2015). In

this case, the jury found Jean-Pierre to be guilty of a security conspiracy with William Sears and

Scott Dittman that ran from March 25, 2011 through May 15, 2014.

       2. Defendant next argues that his guidelines should not be increased by 2 levels because the

“means” that he employed did not rise to the level to qualify as “sophisticated means” pursuant to

§2B1.1(b)(10)(c). Again, defendant Jean-Pierre offers no facts, evidence, or case to support his

position in objecting to this two level increase.

       U.S.S.G. § 2B1.1(b)(10)(C) refers “Sophisticated means” as “especially complex or

especially intricate offense conduct pertaining to the execution or concealment of an offense,” and

ordinarily includes “[c]onduct such as hiding assets or transactions, or both, through the use of

fictitious entities, corporate shells, or offshore financial accounts.” Id. § 2B1.1, comment. (n.9(B)).

“The Guidelines do not require every step of the defendant’s scheme to be particularly

sophisticated; rather, as made clear by the Guidelines’ commentary, the enhancement applies when

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the execution or concealment of a scheme, viewed as a whole, is ‘especially complex or especially

intricate.’” United States v. Weiss, 630 F.3d 1263, 1279 (10th Cir. 2010); see also United States v.

Jenkins–Watts, 574 F.3d 950, 962 (8th Cir.2009) (“Even if any single step is not complicated,

repetitive and coordinated conduct can amount to a sophisticated scheme”). The Guidelines

prescribe the “sophisticated means” adjustment based on the offense conduct as a whole, not

simply the defendant’s own personal conduct in perpetrating the offense. See United States v.

Barrington, 648 F.3d 1178, 1199 (11th Cir. 2011).

        In United States v. McKye, 638 Fed. Appx. 680 (10th Cir. 2015), cert. denied, 2016 WL

2840457 (U.S. 2016), the Tenth Circuit upheld the District Court applying two-level sentencing

enhancement for use of sophisticated means to defendant's sentence for securities fraud, where

defendant ran his scheme undetected for five years, used multiple entities to coordinate the fraud,

and used newspaper and television ads to attract more investors, and induced individuals to invest

in his scheme by deceiving them into believing their investments were collateralized by real

property. The crime and means of committing the crime in McKye are similar to the means used in

this case.

        Like in McKye, Jean-Pierre, along with co-conspirators Sears and Dittman, used multiple

entities to coordinate the securities fraud, assisted in drafting fraudulent press releases, and

disclosed fraudulent information, specifically pertaining to their revenue, to OTC Markets, the

forum for the public to receive information about microcap companies. They also used a licensed

lawyer, not banned to write opinion letters, review fraudulent documents without his knowledge

and pay him to place his letterhead and signature on the opinion letters. Jean-Pierre even changed

his name to Marcelo Dominguez de Guerra. In addition, this securities fraud went undetected for

approximately four years and the undercover operation displayed that defendant Jean-Pierre was

willing to continue engaging in securities fraud. Many other circuits have upheld the two-level

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sentencing enhancement when securities fraud was committed and various layers of fraud was

involved. See United States v. Regensberg, 381 Fed.Appx. 60 (2nd Cir. 2010), 210 WL 2501042;

United States v. Bollin, 73 Fed.Appx. 316, (9th Cir. 2003), 2003 WL 21995421; United States v.

Brennan, 562 Fed.Appx. 914 (11th Cir. 2014), 2014 WL 1394654; and United States v. Altomare,

673 Fed.Appx. 956 (11th Cir. 2016), 2016 WL 7404668.

       In this case, defendant Jean-Pierre prepared large numbers of false legal documents and sent

them to William Sears to be forwarded to the transfer agents and brokers in order to free up shares

of FUSIONPHARM stock for William Sears. Evidence gathered in the investigation indicated that

Jean-Pierre, Sears and Dittman conspired, among others, to conceal Sears’ role and involvement in

the management and operation of FUSIONPHARM, as well as his beneficial ownership of a

significant portion of its stock, from securities regulators and the investing public. They created a

scheme to fabricate revenues for FUSIONPHARM, so that they could portray the company as

enjoying progressive and consistent growth. FUSIONPHARM posted a total of approximately

$1,659,690 in revenue from 2011 through 2013. The majority of these funds came in from Sears’

sale of FUSIONPHARM stock. These deals were described in the FUSIONPHARM financial

statements, that were reviewed by Jean-Pierre, as PharmPod sales and licensing agreements

between FUSIONPHARM and entities controlled by William Sears. Dittman, Sears, and Jean-

Pierre never disclosed Dittman’s and Sears’ familial relationship, Sears’ role with

FUSIONPHARM, or his control of a massive amount of FUSIONPHARM stock. In addition,

Sears criminal history was never disclosed. As stated in Jean-Pierre’s trial by the government’s

expert and employees of OTC Markets, Jean-Pierre had a duty to disclose this information.

Bayside Realty was supposedly owned by Sears’ mother, Sandra Sears, Microcap was alleged to

have been sold to Richard Scholz for ten dollars.



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       As stated before, in late 2012 and early 2013, Sears and Dittman funneled FUSIONPHARM

shares to Meadpoint and Bayside Realty by falsely portraying the entities as lenders to

FUSIONPHARM who held promissory notes that were convertible, at the election of the lender,

into FUSIONPHARM common stock. Defendant Jean-Pierre discussed with Sears and Cliff Boden

a plan to create convertible notes from non-convertible notes in order to make money. Jean-Pierre,

Dittman, and Sears, falsely depicted the sale proceeds from sale of FusionPharm stock by Sears as

loan deposits from Sears’ entities into FusionPharm bank accounts. Further, Jean-Pierre reviewed

these notes on several occasions when drafting Rule 144 opinion letters. Sears and Dittman

submitted to FUSIONPHARM’s transfer agent the Rule 144 opinion letters, drafted by Jean-Pierre

and signed by DiTommaso that falsely represented and depicted the entities controlled by Sears as

not being affiliates of FUSIONPHARM. They concealed from the transfer agent Sears’ role and

involvement in FUSIONPHARM and his connections to and control of the shell entity, Bayside.

These documents, together with Rule 144 attorney opinion letters, convinced the transfer agent to

remove the restrictive legend on the stock and allowed the brokers to publically sell the stock.

       3. Next the defendant objects to no reduction being made for his role in the offense and

believes that his offense should be decreased by 2 levels because he was a minor participant in the

offense under § 3B1.2 of the Guidelines. Application Note 3 states who is accountable under the

relevant conduct section for a loss amount (in this case gain amount due to the number of victims)

that greatly exceeds the defendant’s personal gain from a fraud offense, may receive an adjustment

under this guideline. In determining whether a defendant is a minor-participant the District Court

must “focus upon the defendant's knowledge or lack thereof concerning the scope and structure of

the enterprise and of the activities of others involved in the offense.” United States v. Calderon-

Porras, 911 F.2d 421, 423 (10th Cir.1990). The Tenth Circuit further provides guidance in United

States v. Barron, 97 Fed.Appx. 840, 843 (10th Cir. 2004), 2004 WL 1059822, “[t]he determination

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whether to apply [U.S.S.G. § 3B1.2] ... involves a determination that is heavily dependent upon the

facts of the particular case.... [T]he court, in weighing the totality of the circumstances, is not

required to find, based solely on the defendant's bare assertion, that such a role adjustment is

warranted.” U.S.S.G. § 3B1.2, Application Note 3(C).

       In this case, defendant Jean-Pierre was not a minor participant. Defendant Jean-Pierre was

far more experienced in securities law than co-defendants Sears and Dittman. Defendant Jean-

Pierre graduated from Columbia Law School and worked in the corporate finance department of a

national law firm doing buyouts and mergers, financial transactions, and participated in public

offerings of debt and equity issues.    He was a member of the California, New York, and Florida

Bar. After working for the Federal Deposit Insurance Corporation, Jean-Pierre began his law

practice and also taught business law and ethics. Jean-Pierre had a vast background and over 20

years of experience in securities and public/private offerings. Jean-Pierre had the experience,

sophistication, and training to know right from wrong in the context of this case.

       Jean Pierre’s conduct also was significantly more egregious due to being a licensed

professional. He wrote more opinion letters and understood how these letters furthered the scheme.

Despite being warned and then banned by OTC Markets, he continued to post false opinion letters

by using a non-banned attorneys letterheads and signatures. He falsified his own niece’s signature

for some of the opinion letters, causing her to answer to the Texas and California Bar. He did all

this with a complete understanding of securities laws and regulations. The government

acknowledges that Jean-Pierre made less in proceeds than Sears and Dittman, but his options to

continue practicing in securities law were limited due to his ban from OTC Markets and a Florida

Bar complaint that eventually caused him to be disbarred and sued by the SEC. Both Sears and

Dittman knew of Jean-Pierre’s legal troubles before hiring him at FUSIONPHARM. Dittman went

as far as writing a letter of support for Jean-Pierre to the Florida State Bar before he began any

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work. Sears and Dittman sought out Jean-Pierre to provide legal services because he was less

expensive and helped them to circumvent securities laws. Jean-Pierre made the choice to assist in

the fraudulent conduct and receive funds. But for all of the ways Jean-Pierre assisted, committed,

and hid the securities fraud in this case, as stated above, the government’s view is that the one

mitigating factor of receiving less money for his substantial role in the fraudulent scheme does not

remove this case from the heartland of the Guidelines. Defendant Jean-Pierre based on the totality

of circumstances and the facts of this case should be denied a minor participant role.

     Dated: August 2nd, 2019

                                                         Respectfully submitted,

                                                         JASON R. DUNN
                                                         United States Attorney

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                                  CERTIFICATE OF SERVICE

      I hereby certify that on this 2nd day of August, 2019, I electronically filed the foregoing
Government’s Reply to Defendant’s Objections to PSR with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following e-mail address:

   Thomas Goodreid
   Clifford Barnard

                                                         s/Jeremy Sibert
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